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 6                                      UNITED STATES DISTRICT COURT
 7                                   EASTERN DISTRICT OF CALIFORNIA
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 9   BENITO FEBRE,                                                   1:05-cv-00563-OWW-SMS-P
10                              Plaintiff,                           ORDER ADOPTING FINDINGS AND
                                                                     RECOMMENDATION (Doc. 9)
11   vs.
                                                                     ORDER DISMISSING ACTION
12   GEO GROUP INC., et al.,
13                              Defendants.
                                                            /
14
15            Benito Febre (“Plaintiff”), is a federal prisoner proceeding
16   pro se and in forma pauperis in this civil rights action pursuant
17   to Bivens v. Six Unknown Named Agents of Federal Bureau of
18   Narcotics, 403 U.S. 388 (1971).                                The matter was referred to a
19   United States Magistrate Judge pursuant to 28 U.S.C.
20   § 636(b)(1)(B) and Local Rule 72-302.
21            On November 14, 2006, the Magistrate Judge filed Findings
22   and Recommendation herein which were served on the parties and
23   which contained notice to the parties that any objections to the
24   Findings and Recommendation were to be filed within fifteen (15)
25   days.       To date, the parties have not filed objections thereto.1
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                 The United States Postal Service returned the order served on Plaintiff on November 27, 2006, as
27   undeliverable. A notation on the envelope indicated: Return to Sender - Cannot Locate/Refused. However, Plaintiff
     has not notified the Court of any change in his address. Absent such notice, service at a party’s prior address is fully
28   effective. See Local Rule 83-182(f).

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 1        In accordance with the provisions of 28 U.S.C.
 2   § 636(b)(1)(C) and Local Rule 73-305, this Court has conducted a
 3   de novo review of this case.     Having carefully reviewed the
 4   entire file, the Court finds the Findings and Recommendation to
 5   be supported by the record and by proper analysis.
 6        Accordingly, IT IS HEREBY ORDERED that:
 7        1.    The Findings and Recommendation, filed November 14,
 8   2006, are ADOPTED in full; and,
 9        2.    This action is DISMISSED for Plaintiff’s failure to
10   prosecute and because the Complaint fails to state a claim for
11   relief.
12        3.    The Clerk of Court is DIRECTED to enter judgment in
13   accordance with this Order.
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15   IT IS SO ORDERED.
16   Dated: December 19, 2006             /s/ Oliver W. Wanger
     emm0d6                          UNITED STATES DISTRICT JUDGE
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